4:11-cr-03087-JMG-CRZ     Doc # 318    Filed: 08/19/15   Page 1 of 1 - Page ID # 2692




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                  Plaintiff,            )                4:11CR3087-1
                                        )
            V.                          )
                                        )
GUY E. ALLEN,                           )                   ORDER
                                        )
                  Defendant.            )
                                        )


      IT IS ORDERED that:

      1.    Allen’s Motion for Extension of Time to File Memorandum of Law (filing
            no. 315) is denied, except as indicated below.

      2.    Allen shall have until October 29, 2015, to file his Memorandum of Law
            in the court file. The prison mail box rule will not be applied.

      3.    The Memorandum of Law shall not add claims or expand upon the claims
            set forth in grounds one through four of the Motion Under 28 U.S.C. §
            2255 (filing no. 316). The Memorandum of Law shall only address the
            law related to claims one through four. Failure to follow this directive
            may result in the Memorandum of Law being stricken or ignored.

      4.    The Clerk shall mail a copy of this Order and filing no. 316 to Allen.

      5.    My chambers shall call this matter to my attention on October 30, 2015.

      August 19, 2015.                BY THE COURT:

                                      Richard G. Kopf
                                      Senior United States District Judge
